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6                             UNITED STATES DISTRICT CO URT
7                                     DISTRICT OF NEVADA

8 UNITED STATESOFAM ERICA,                         )
                                                   )
9                        Plaintiff,                )
                                                   )
10         v.                                      )                        2:04-CR-177-GM N-(PAL)
                                                   )                    q: $* -e< - ooq . wv .f
                                                                        2:13-cr-00009-GMN-PAL
11 ROUBEN KIM KOSSIAN,                             )
                                                   )
12                       Defendant.                )
13                         PRELIM INARY ORDER OF FORFEITURE
14        n isCourtfindsthaton Januazy 7,2013,defendantROUBEN KIRAK OSSIAN pled guilty

15 to CotmtOne of a Second Superseding CriminalIndictment charging him in thatcount with
16 ConspiracytoConductorParticipateinan EnterpriseEngagedinaPatternofRacketeeringActivity                    .

17 in violation of Title l8,United States Code,Section 1962(d).Second Superseding Criminal
18 Indictm ent,ECF No.267.
19        ThisCourtfindsdefendantROUBEN KIRAKOSSIAN agreedtotheforfeitm eoftheproperty
20 setforth in Forfeiture A llegations ofthe Second Superseding Crim inallndictm ent and the Plea
21 A greem ent.Second Superseding Crim inalIndictm ent,ECF N o.267.

22        ThisCourtfinds,pursuanttoFed.R.Crim.P.32.2(b)(1)and(2),theUnitedStatesofAmerica
23 hasshowntherequisitenexusbetweenpropertysetforth intheForfeitureAllegationsoftheSecond

24   Superseding Crim inalIndictment and agreed to in the Plea Agreementand the offense to which
25 defendantROUBEN KIRAKOSSIAN pled guilty.

26 ...
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 1      ThefollowingassetsaresubjecttoforfeiturepursuanttoTitle18,UnitedStatesCode,Section
2 1963(a)(3);andTitle2l,UnitedStatesCode,Section853(p):
3       (1)    SonyVaioDeskTopcomputer(serialnumber:284711373004449))
4       (2)    CompaqPresaliolaptopcomputer(serialnumber:6D22JCH371W 9);
5       (3)    HewlettPackardlaptop computer(serialnumber:1W 13920335);
6       (4)    Valiant671DP laptopcomputer(serialnumber:T0140E300850);
7       (5)    automated'tellermachineCATM'');
8       (6)    Toshibalaptopcomputer(serialnumber:2304502Pt9;
9       (7)    HP Pavilion753N (serialnumber:51M 3605319$
l0      (8)    Panasonic Palmcorder mini-dv camera, model PV-DV (serial number:
l1             8N07131008488);
12      (9)    HP Om ceJetprinter(serialnumber:MYl6CB-21YP);
13      (10)   VEO Stingrayvideocamera(serialnumber:330V82AX000-771))
14      (11)   Olympusdigitalcamera(serialnumber:237238802))
15      (12)   Compaq Conturalaptopcomputer(serialnumber:752911P823352);
16      (13)   SonyVaio laptopcomputer(serialnumber:283216303205876):
17      (14)   HP laptopcomputer(setialnumber:TW 21618644);
18      (15)   Quantum Harddrive(serialnumber:65202854789510 ZX:* )
19      (16)   SonyMVC-CD 300digitalcamera(serialnumber:341794);
20      (17)   JVC digiolvideocameraDVM -90(serialnumber:09660914);
21      (18)   SonyDigitalPhotoPrinterDPP-EXS(serialnumber:312788);
22      (19)   BrotherLX-900Printer(serialnumber:US 2543-M0.
                                                           135);
23      (20)   SonyLCD Monitor(serialnumber:0424888);
24      (21)   Sharp DisplayM onitor(serialnumber:203418267);and
25      (22)   aninpersonam criminalforfeituremoneyjudgmentof$1,000,000.00inUnitedStates
26             Currency.
           Case 2:04-cr-00177-GMN-NJK       Document 334       Filed 01/07/13   Page 3 of 4



1          ThisCourttindsthe United States ofAmerica is now entitled to,and should,reduce the

2 aforem entioned propertyto tllepossession ofthe United StatesofAmerica.
3          N OW THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thatthe

4 United StatesofAm ericashould seizetheaforem entioned property.
5          IT IS FURTHER ORDEREDSADJUDGEDSAN D DECREED a11right,title,and interestof
6 ROUBEN KIRAK OSSIAN intheaforem entioned propertyisforfeitedand isvested in theUnited

7 StatesofAmericaand shallbesafely held by theUnited StatesofAm ericatmtilfurtherorderofthe

 8 Court.
9          IT IS FURTHER ORDERED,ADJUDGEDSAND DECREED thcUnited StatesofAmerica

10 shallpublishforatleastthirty(30)consecutivedaysontheofticialintenxtgovernmentforfeiture
l1 website,w ww.forfeittlre.zov,noticeofthisOrder,which shalldescribetheforfeitedproperty,state
12 thetim eundertheapplicablestatutçwhen apetitioncontestingtheforfeituremustbetiled,and state

13 the nam e and contactinformation for the governm ent attorney to be served with the petition,

14 pursuantto Fed.R.Crim.P.32.2(b)(6)andThle21,UnitedStatesCode,Section853(n)(2).
15         IT IS FURTHER ORDERED,ADJUDGED,AND DECREED apetition,ifany,m ustbetiled

16 with the Clerk oftheCourt,333LasVegasBoulevard South,LasVegas,N evada 89101.
17         IT IS FURTHER ORDERED,ADJUDGED,AND DECREED acopyofthepetition,ifany,

18 shallbe served upon the AssetForfeiture Attorney ofthe United StatesAttorney'sOffice atthe

19 following addressatthetim eoffiling:

20                M ichaelHumphreys
                  AssistantUnited StatesAttorney
21                Lloyd D .O eorge U nited Su tes Courthouse
                  333 LasVegasBouievard South,Suite 5000
22                LasVegas,Nevada 89101

23 ...
24   ...

25 ...
26 ...
         Case 2:04-cr-00177-GMN-NJK         Document 334            Filed 01/07/13      Page 4 of 4



 1        IT IS FUR THER ORD ERED ,AD JU D G ED , AND DECREED thenotice described herein
 2 need notbepublished in the eventaDeclaration ofForfeitureisissucd bytheappropriate agency

 3 followingpublication ofnoticeofseizureandintenttoadm inistratively forfeittheabove-described
 4 property.
 5        D ATED this        day of          -              2013.

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